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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TIMOTHY BROWN, et al.,                       :
           Petitioners,                       :        CIVIL ACTION
                                              :        No. 20-1914
          v.                                  :
 SEAN MARLER,                                 :
          Respondent.                         :


                                         ORDER

       AND NOW, this 11th day of May, 2020, it is ORDERED that on or before May 12,

2020, no later than 10:00 a.m. EST, Respondent must SHOW CAUSE why Sean Marler

should not appear for a telephone deposition on Wednesday, May 13, 2020.



                                                        _s/ ANITA B. BRODY, J.______
                                                        ANITA B. BRODY, J.


Copies VIA ECF 05/11/2020
